          Case 5:21-cv-00030-JD Document 8 Filed 05/05/21 Page 1 of 2




                   IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF OKLAHOMA

NOLAN LEE ALJADDOU,                        )
                                           )
              Petitioner,                  )
                                           )
v.                                         )      Case No. CIV-21-00030-JD
                                           )
UNITED STATES FEDERAL                      )
NEBRASKA DISTRICT,                         )
                                           )
              Respondent.                  )

            ORDER ADOPTING REPORT AND RECOMMENDATION

       Before the Court is a Report and Recommendation [Doc. No. 7] by United States

Magistrate Judge Shon T. Erwin recommending that this action be dismissed without

prejudice for Petitioner Nolan Lee Aljaddou’s failure to comply with the Order to

Petitioner to Cure Deficiency dated January 20, 2021 (“Order”). [See Doc. No. 4]. The

Order directed Aljaddou to pay the $5.00 filing fee or request leave to proceed without

prepayment of costs and to cure other listed deficiencies with his petition for writ of

habeas corpus by February 8, 2021. [Doc. No. 4 at 1–2]. Judge Erwin explained to

Aljaddou that failure to cure the deficiencies in the Order by February 8, 2021 would

result in a recommendation that the action be dismissed without prejudice. [Id. at 2].

       Judge Erwin advised Aljaddou of his right to file an objection to the Report and

Recommendation with the Clerk of Court by March 8, 2021, and that failure to timely

object to the Report and Recommendation waives the right to appellate review of both

factual and legal issues contained in the Report and Recommendation. [Doc. No. 7 at 2–

3]. See also 28 U.S.C. § 636.
          Case 5:21-cv-00030-JD Document 8 Filed 05/05/21 Page 2 of 2




      The record reflects that no objection to the Report and Recommendation has been

filed, and no extension of time to object has been requested. The Court therefore

ADOPTS the Report and Recommendation [Doc. No. 7] in its entirety for the reasons

stated therein and DISMISSES this action without prejudice.

      IT IS SO ORDERED this 5th day of May 2021.




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